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                               EXHIBIT 14
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                     Tech Instrumentation vs Eurton Electric

             Prior Permission Documentation with List Recipients


  Since most of the correspondence in the past with our customers was done by fax,
  all our established business relationships have verbally agreed to a faxing
  relationship with Eurton for invoices,quotations,and flyers. The only way to prove
  this verbal acceptance, when no documentation was filed, could only be done
  through those recipients who could recall giving this permission in previous years
  and obtaining a signed document to that fact. Getting this would be a challenge,
  and present a number of obstacles:
     1. Who it was that could have given this permission 3,5,10, or more years ago.
     2. Because the case against Eurton Electric could not be discussed, recipients
        had no idea why they were being asked if they had memory of this taking
         place.
     3. Because of the low frequency offaxes, most recipients could not even recall
         getting a fax from Eurton Electric.
     4. Contacts who may have given permission, could have retired, left the
        company, changed positions, or simply forgot they gave this permission in
         the past.

  The following pages are a collection of documentation from Established Business
  Relationships who did recall an exchange with Eurton Electric whereby permission
  to fax was granted. Not only did they recall the exchange but signed a document
   supporting that fact.
   ♦Note: The first 12 documents are from the Colorado Class which represents 12 of
   the 19 recipients who recalled and signed they gave prior permission, years ago.
   63%




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    parts, products,sales and specials offered from time to time.



   EurtmElectrk has had this permis^fmr more than 5 years,and we are looking forward to
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    Sending flyers, catalogs, postcards,etc.to keep us informed on the latest rewinds, repair
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    We have always enjoyed our working relationship with Eurton Electric and they have had this
    permission for more than 5 years, and we are looking forward to continue working together
    with Eurton Electric for many years to come.


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    www.eurtoiielectHccom                                                hvfo0eurtonetectrlc.com




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   Sending flyers,catalogs, postcards,etc.to keep us Informed on the latest rewinds,repair
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   We have always enjoyed our working relationship with Eurton Electric and they have had this
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                    Electric Motor Rewinding and Repair Parts
       Phone; 562-946-4477                                                     Fax: 562-946-0014

       www.eurtOReiectric.coin                                          infb@eurtonelectric.com




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      Sending flyers,catalogs, postcards, etc.to keep us Informed on the latest rewinds,repair
      parts, products,sales and specials offered from time to time.


      We have always enjoyed our working relationship with Eurton Electric and they have had this
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Phone: 562-946-4477                                                         Fax: 562-946-0014
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                    Electric Motor Rewinding and Repair Parts
   Phone: 562-946-4477                                                          Fax: 562-946-0014

   www.eurtonelectric.com                                                info@eurtonelectrlc.com




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         MOTOR BRUSHES                                                       CAPACITORS



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                Electric Motor Rewinding and Repair Parts

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  www.eurtonelectric.com                                                  info@eurtonelectric.com




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